              Case 22-12790-EPK         Doc 380     Filed 04/19/23       Page 1 of 15




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


In re:
                                                             Case No. 22-12790-EPK
EXCELL AUTO GROUP, INC.
                                                             Chapter 7
      Debtor.
________________________________

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that true and correct copies of the Trustee's Motion to Compromise

Controversy With Edward Brown and for Entry of a Bar Order [ECF No. 378] and Notice of

Hearing regarding Trustee's Motion to Compromise Controversy With Edward Brown and for

Entry of a Bar Order [ECF No. 379] were served via transmission of Notices of Electronic Filing

generated by CM/ECF to those parties registered to receive electronic notices of filing in this case

on the dates indicated below.

Dated: April 19, 2023
                                                          FURR AND COHEN, P.A.
                                                          Special Counsel for Creditor
                                                          2255 Glades Road, Suite 419A
                                                          Boca Raton, Fl 33431
                                                          Telephone: (561) 395-0500
                                                          Facsimile: (561) 338-7532

                                                          By: /s/ Alan R. Crane   _
                                                          Alan R. Crane
                                                          Florida Bar No.: 0963836
                                                          E-Mail: Acrane@Furrcohen.com
                                                          Jason S. Rigoli, Esq.
                                                          Florida Bar No. 91990
                                                          E-mail: jrigoli@furrcohen.com

By Notice of Electronic Filing: ECF No. 378 and 379 were served on April 14, 2023 to all parties
registered with CM/ECF to receive electronic notices
            Case 22-12790-EPK       Doc 380       Filed 04/19/23   Page 2 of 15




By U.S. Mail: ECF No. 378 and 379 were served on April 14, 2023 on all creditors and parties
on the attached official court matrix for this case and 22-15627, except those receiving CM/
ECF notices were served on the dates indicated above.




                                            -2-
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Label Matrix for local noticing                 Luxury Lease Company LLC                         1001 Clint Moore, LLC
113C-9                                         210 Summit Ave, Suite C4                          6560 W Rogers Circle
Case 22-12790-EPK                              Montvale, NJ 07645-1500                           Suite B27
Southern District of Florida                                                                     Boca Raton, FL 33487-2746
West Palm Beach
Fri Apr 14 09:22:42 EDT 2023
Ally Bank                                      Ally Bank Lease Trust - Assignor to Vehicle       Ally Bank, c/o AIS Portfolio Services, LLC
P.O. Box 5703                                  4515 N Santa Fe Ave. Dept. APS                    4515 N Santa Fe Ave. Dept. APS
Clearwater, FL 33758-5703                      Oklahoma City, OK 73118-7901                      Oklahoma City, OK 73118-7901



Austin Business Finance, LLC and Xan Myburgh   Auto Wholesale of Boca, LLC                       BAL INVESTMENTS, LLC
c/o Eric N. Assouline, Esq.                    6560 W Rogers Circle                              c/o Zachary J. Bancroft, Esq.
Assouline & Berlowe, P.A.                      Suite B27                                         Baker Donelson, et al.
100 SE 2nd Street                              Boca Raton, FL 33487-2746                         200 S. Orange Ave., Ste. 2900
Suite 3105                                                                                       Orlando, FL 32801-3448
Miami, FL 33131-2100
BENIDT INVESTMENTS/SLINGER, LLC                Chapford Credit Opportunities Fund LP             Chapford Specialty Finance LLC
c/o Eric J. Silver, Esq.                       c/o Scott Rose, Esq.                              c/o Scott Rose, Esq.
150 West Flagler Street                        201 Broad Street, Suite 500                       201 Broad Street, Suite 500
Suite 2200                                     Stamford, CT 06901-2004                           Stamford, CT 06901-2004
Miami, FL 33130-1545

Columbus Day Finance, LLC                      DCG 2008 Irrevocable Wealth Trust                 Daimler Trust
c/o Jordan L. Rappaport, Esq                   c/o Ivan J. Reich                                 c/o Paul Wilson
Rappaport Osborne & Rappaport, PLLC            750 Park of Commerce Blvd, Suite 210              1776 N. Pine Island Rd., Suite 308
1300 N Federal Hwy #203                        Boca Raton, FL 33487-3611                         Plantation, FL 33322-5235
Boca Raton, FL 33432-2848

EXCELL Auto Group, Inc.                        Excell Auto Sport and Service, Inc.               FVP Investments, LLC, a Delaware limited lia
1001 Clint Moore Road                          c/o Nathan G. Mancuso                             c/o David R. Softness, Esq.
Suite 101                                      7777 Glades Rd., Suite 100                        201 South Biscayne Boulevard #2740
Boca Raton, FL 33487-2830                      Boca Raton, FL 33434-4150                         MIami, FL 33131-4332


FVP Opportunity Fund III, LP                   FVP Servicing, LLC a Delaware limited liabil      Franklin Capital Funding, LLC
c/o David R. Softness, Esq.                    c/o David R. Softness, Esq.                       c/o Shraiberg Page, PA
201 South Biscayne Boulevard #2740             201 South Biscayne Boulevard #2740                2385 NW Executive Center Dr., #300
Miami, FL 33131-4332                           Miami, FL 33131-4332                              Boca Raton, FL 33431-8530


Graves Directional Drilling Inc. a/k/a Grave   Hi Bar Capital, LLC                               Integrated Vehicle Leasing, Inc.
c/o Kelley, Fulton, Kaplan & Eller PL          2111 57th Street                                  c/o Moritt Hock & Hamroff LLP
1665 Palm Beach Lakes Blvd.,Ste. 1000          Brooklyn, NY 11204-2081                           Attn.: Theresa A. Driscoll, Esq.
West Palm Beach, FL 33401-2109                                                                   400 Garden City Plaza
                                                                                                 Garden City, NY 11530-3327

JPMorgan Chase Bank, N.A.                      Karma Automotive, LLC                             Karma of Broward, Inc.
c/o Dennis J. LeVine                           c/o James B. Sowka                                c/o Weiss Handler & Cornwell, PA
4919 Memorial Hwy, Ste 135                     233 South Wacker Drive,, IL 60606                 2255 Glades Road
Tampa, FL 33634-7510                                                                             Suite 205E
                                                                                                 Boca Raton, FL 33431-7391

Karma of Palm Beach, Inc.                      MMS Ultimate Services, Inc.                       Mercedes Benz Financial Services USA, LLC.
c/o Weiss, Handler & Cornwell, PA              7241 Catalina Isle Drive                          14372 Heritage Parkway
2255 Glades Road, Suite 205E                   Lake Worth, FL 33467-7746                         Fort Worth, TX 76177-3300
Boca Raton, FL 33431-7391
                                 Case 22-12790-EPK       Doc 380           Filed 04/19/23   Page 4 of 15
Milco Atwater, LLC                             Millco Atwater, LLC                             Palm Beach County Tax Collector
c/o Eyal Berger                                201 E Las Olas Blvd #1800                       c/o Hampton Peterson Esq
201 Las Olas Blvd #1800                        Fort Lauderdale, FL 33301-4442                  POB 3715
Fort Lauderdale, FL 33301-4442                                                                 West Palm Beach, FL 33402-3715


Prestige Luxury Cars, LLC                      Quad Funding Partners, LLC                      Road Rich, LLC d/b/a Road Rich Motors
c/o Thomas G. Zeichman                         Attn: Eric Nicholsberg                          c/o Kelley, Fulton, Kaplan & Eller PL
2385 Executive Center Drive, Suite 250         3303 W. Commercial Blvd #190                    1665 Palm Beach Lakes Blvd., Ste. 1000
Boca Raton, FL 33431-8511                      Fort Lauderdale, FL 33309-3412                  West Palm Beach, FL 33401-2109


Savannah Row Development Company, LLC          Shrayber Land, Inc.                             Tulocay Farm, Inc.
c/o M.A. Dinkin Law Firm, P.L.L.C.             c/o Joaquin J. Alemany, Esq.                    c/o Peter Spindel, Esq., P.A.
3319 SR 7, Suite 303                           HOLLAND & KNIGHT LLP                            POB 835063
Wellington, FL 33449-8147                      701 Brickell Ave., Suite 3300                   Miami, FL 33283-5063
                                               Miami, FL 33131-2898

United Community Bank d/b/a Seaside Bank and   Westlake Flooring Company, LLC                  Westlake Services, LLC
Crary Buchanan, P.A.                           c/o Liebler Gonzalez & Portuondo                c/o Liebler Gonzalez & Portuondo
759 SW Federal Highway                         44 West Flagler Street                          44 West Flagler Street
Suite 106                                      25th Floor                                      25th Floor
Stuart, FL 34994-2972                          Miami, FL 33130-1808                            Miami, FL 33130-1808

Woodside Credit, LLC                           1001 Clint Moore, LLC                           22 Capital
c/o Zach B. Shelomith, Esq.                    c/o James B. Miller, P.A.                       1900 Glades Road
2699 Stirling Rd # C401                        19 West Flagler Street, Suite 416               Suite 540
Fort Lauderdale, FL 33312-6598                 Miami, FL 33130-4419                            Boca Raton, FL 33431-7378


A&A Publishing Corp d/b/a The Boca Raton Obs   AJA Realty                                      AMEX TRS Co., Inc.
7700 Congress Avenue Ste 3115                  16850 Charles River Drive                       c/o Becket and Lee LLP
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1361 SW 21st St                                Frederik Middleton                              99 Wall Street
Boca Raton, FL 33486-6646                      1361 SW 21st St                                 New York, NY 10005-4301
                                               Boca Raton, FL 33486-6646


Auto Wholesale Boca                            Auto Wholesale of Boca, LLC                     BAL Investments
6560 West Rogers Circle                        c/o James B. Miller, P.A.                       1114 Ashton Trace
Suite B27                                      19 West Flagler Street, Suite 416               Atlanta, GA 30319-2681
Boca Raton, FL 33487-2746                      Miami, FL 33130-4419


Chad Zakin                                     Chapford Specialty Finance LLC                  DCG 2008 Irrevocable Wealth Trust
c/o Mark A. Levy, Esq.                         c/o James C. Moon, Esquire                      c/o Kenneth J. Goodman, as Trustee
Brinkley Morgan                                Meland Budwick, P.A.                            1001 East Telecom Drive
100 SE Third Ave, 23rd Floor                   200 S. Biscayne Blvd., Ste 3200                 Boca Raton, FL 33431-4422
Fort Lauderdale, FL 33394-0002                 Miami, FL 33131-5323

DCG Trust                                      David Amsel                                     (c)EAG WHOLESALE, LLC/OLP EAG, LLC
c/o Kenny Goodman                              c/o Breuer Law, PLLC                            C/O SIMON & SIGALOS, LLC
1928 Thatch Palm Drive                         6501 Congress Ave., Ste. 240                    3839 NW 2ND AVE STE 100
Boca Raton, FL 33432-7457                      Boca Raton, FL 33487-2840                       BOCA RATON FL 33431-5862
                                 Case 22-12790-EPK      Doc 380           Filed 04/19/23   Page 5 of 15
Ed Brown                                      Edvard Dessalines                               Edward Brown
152 Bears Club Drive                          6160 Kelty Way                                  c/o Eyal Berger, Esq.
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                                                                                              201 East Las Olas Blvd., Suite 1800
                                                                                              Fort Lauderdale, FL 33301-4442

Edward M. Brown                               FVP Opportunity Fund III LP                     FVP Opportunity Fund III, LP
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Akerman LLP                                   201 S. Biscayne Blvd, Suite 2740                201 S. Biscayne Blvd.
201 East Las Olas Blvd.                       Miami, FL 33131-4332                            Suite 2740
Suite 1600                                                                                    Miami, FL 33131
Fort Lauderdale, Florida 33301-4439                                                           david@softnesslaw.com 33131-4332
Fedex Corporate Services Inc                  First Citizens Bank & Trust Comapny             Franklin Capital Funding, LLC
3965 Airways Blvd, Module G, 3rd Floor        PO Box 593007                                   c/o Bradley S. Shraiberg, Esq.
Memphis, TN 38116-5017                        San Antonio, TX 78259-0200                      2385 NW Executive Center Dr., #300
                                                                                              Boca Raton, FL 33431-8530


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200 N. Palm Ave                               Lawrence A. Caplan, P.A.                        2101 Interstate 35
Indialantic, FL 32903-5051                    1375 Gateway Blvd                               4th Floor
                                              Boynton Beach, FL 33426-8304                    Austin, TX 78741-3800


Graves Directional Drilling Inc.              Green Bucket Investments                        Haley Walker
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1665 Palm Beach Lakes Blvd., Ste 1000         6700 N Andrews Ave 3 Fl                         2426 East Las Olas Blvd.
West Palm Beach, FL 33401-2109                Ft Laud., FL 33309-2204                         Fort Lauderdale, FL 33301-1573


IPFS Corporation                              Integrated Vehicle Leasing Inc.                 Jack Brennan
30 Montgomery Street                          Theresa A. Driscoll                             GrayRobinson, P.A.
Suite 501                                     Moritt Hock & Hamroff LLP                       301 E. Pine Street, Suite 1400
Jersey City, NJ 07302-3821                    400 Garden City Plaza                           Orlando, FL 32801-2798
                                              Garden City, NY 11530-3327

Jack Brennan                                  Johnie Floyd Weems, III                         Karma Palm Beach Inc. & Karma of Broward Inc
GrayRobison, P.A.                             1199 S. Federal Highway, Suite 423              c/o Harry Winderman, Esq.
301 E. Pine Street, Suite 1400                Boca Raton, FL 33432-7335                       Weiss, Handler & Cornwell, PA
Orlando, FL 32801-2741                                                                        2255 Glades Road, Suite 205E
                                                                                              Boca Raton, FL 33431-7392

Karma of Palm Beach Inc. & Karma of Broward   Lillian Roberts                                 MXT Solutions, LLC
c/o Harry Winderman, Esq.                     6360 NW 42nd Avenue                             2101 Interstate 35, 4th Floor
Weiss, Handler & Cornwell, PA                 Coconut Creek, Florida 33073                    Austin, TX 78741-3800
2255 Glades Road, Suite 205E                  Coconut Creek, FL 33073-3262
Boca Raton, FL 33431-7392

Mike Halperin                                 Mike Halperin                                   Millco-Atwater, LLC
5820 Harrington Way                           c/o Philip J. Landau, Esq.                      c/o D. Brett Marks, Esquire
Boca Raton, FL 33496-2511                     3010 N. Military Trail, Suite 318               201 East Las Olas Blvd. - Suite 1800
                                              Boca Raton, FL 33431-6300                       Fort Lauderdale, Florida 33301-4442


Moshe Farache and                             (c)OLP EAG, LLC                                 Office of the US Trustee
MMS Ultimate Services, Inc.                   C/O SIMON & SIGALOS, LLP                        51 S.W. 1st Ave.
c/o James B. Miller, P.A.                     3839 NW 2ND AVE STE 100                         Suite 1204
19 West Flagler Street, Suite 416             BOCA RATON FL 33431-5862                        Miami, FL 33130-1614
Miami, FL 33130-4419
                                 Case 22-12790-EPK     Doc 380           Filed 04/19/23   Page 6 of 15
Parkview                                     (c)PEAK FINANCE, LLC                            Phil Gori
400 Main Street                              C/O SIMON & SIGALOS, LLP                        195 W. Alexander Palm Road
Stamford, CT 06901-3000                      3839 NW 2ND AVE STE 100                         Boca Raton, FL 33432-8602
                                             BOCA RATON FL 33431-5862


Prestige Luxury Cars, LLC                    Prestige Luxury Motors                          Richard Applegate
70 SE 4TH AVE                                4301 Oak Circle                                 c/o Jordan L. Rappaport
DELRAY BEACH, FL 33483-4514                  Suite 25                                        1300 N. Federal Hwy #203
                                             Boca Raton, FL 33431                            Boca Raton, FL 33432-2848
                                             Shrayber Land
                                             15700 Dallas Parkway 33431-4258
Savannah Row                                 Shrayber Land                                   Spin Capital
30 SE 15th Avenue                            15700 Dallas Parkway, Suite 11                  1968 S. Coast Highway
Boca Raton, FL 33432                         Dallas, TX 75248-3306                           Suite 5021
                                                                                             Laguna Beach, CA 92651-3681


Stefano Riga                                 Stephen Breuer                                  TBF
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1300 N. Federal Hwy Suite 203                6501 Congress Avenue                            Hoboken, NJ 07030-5856
Boca Raton, FL 33432-2848                    Suite 240
                                             Boca Raton, FL 33487-2840

TVT                                          TVT Direct Funding LLC                          The Gori Family Limited Partnership
1407 Broadway                                65 West 36th Street, Floor 12                   c/o D. Brett Marks, Esquire
New York, NY 10018-5100                      New York, NY 10018-7935                         Akerman LLP
                                                                                             201 East Broward Blvd.
                                                                                             Suite 1800
                                                                                             Fort Lauderdale, Florida 33301
Theresa A. Driscoll                          Timothy Olesijuk                                United Community Bank d/b/a Seaside Bank and
Moritt Hock & Hamroff                        c/o John D. Segaul, Esq.                        Crary Buchanan, P.A.
400 Garden City Plaza                        300 S. Pine Island Rd #304                      759 S.W. Federal Highway, Suite 106
Garden City, NY 11530-3327                   Plantation FL 33324-2621                        Stuart, FL 34994-2972


United Healthcare Insurance Company          Wing Lake Capital Partners                      Aaron Parkinson
Attn CDM/Bankruptcy                          32300 Northwestern Highway                      c/o Jordan L. Rappaport Esq
185 Asylum St-03B                            Suite 200                                       1300 N Federal Hwy #203
Hartford CT 06103-3408                       Farmington Hills, MI 48334-1501                 Boca Raton, FL 33432-2848


Alan Barbee                                  Alexey Alekseyevich Gorodova                    Andrew Greenberg
1400 Centerpark Blvd Suite 860               1100 S Miami Avenue                             c/o Jordan L Rappaport
Suite 860                                    Apt 1210                                        1300 N Federal Hwy #203
West Palm Beach, FL 33401-7421               Miami, FL 33130-4164                            Boca Raton, FL 33432-2848


Andrew Todd McNeill                          Bradley Skorepa                                 C. Wade Bowden
c/o Paid A. Avron                            c/o Brett D. Lieberman                          777 S. Flagler Drive, Suite 300
201 E. Las Olas Boulevard, Suite 1500        20200 W. Dixie Hwy, Suite 905                   West Palm Beach, FL 33401-6167
Fort Lauderdale, FL 33301-4439               Miami, FL 33180-1926


Carina Avila                                 Chad Zakin                                      Christopher Todd Bludworth
DMS Inc                                      c/o Mark A. Levy                                c/o Paid A. Avron
4701 SW 51st St                              100 SE Third Avenue, 23rd Floor                 201 E. Las Olas Boulevard, Suite 1500
Davie, FL 33314-5503                         Fort Lauderdale, FL 33394-0002                  Fort Lauderdale, FL 33301-4439
                                 Case 22-12790-EPK               Doc 380        Filed 04/19/23        Page 7 of 15
David Amsel                                            David Unseth                                         Edvard Dessalines
c/o Breuer Law, PLLC                                   211 North Broadway, Suite 3600                       c/o John E. Page
6501 Congress Avenue                                   St. Louis, MO 63102-2726                             2385 NW Executive Center Dr, Suite 300
Suite 240                                                                                                   Boca Raton, FL 33431-8530
Suite 240
Boca Raton, FL 33487-2840
Edward Brown                                           Frederick Hall                                       Frederick Middleton
c/o Eyal Berger                                        Cuenant & Pennington P.A.                            c/o Jordan L. Rappaport Esq
201 Las Olas Blvd #1800                                c/o Winston Cuenant                                  1300 N Federal Hwy #203
Fort Lauderdale, FL 33301-4442                         101 NE 3rd Avenue                                    Boca Raton, FL 33432-2848
                                                       Suite #1500
                                                       Fort Lauderdale, FL 33301-1181
Harry Winderman                                        John Wittig                                          Kristen Zankl
Harry Winderman, ESQ.                                  c/o Eyal Berger                                      16937 Pierre Circle
2255 Glades Road                                       201 Las Olas Blvd #1800                              Delray Beach, FL 33446-3693
Suite 205e                                             Fort Lauderdale, FL 33301-4442
Boca Raton, FL 33431-7391

Michael Halperin                                       Moshe Farache                                        (p)NICOLE TEST MEHDIPOUR
c/o Philip Landau                                      6560 W. Rogers Circle Suit B27                       6278 NORTH FEDERAL HIGHWAY SUITE 408
Landau Law, PLLC                                       Boca Raton, FL 33487-2746                            FORT LAUDERDALE FL 33308-1916
3010 N. Military Trail
Suite 318
Boca Raton, FL 33431-6300
Philip T. Gori                                         Richard Applegate                                    Richard Greenberg
c/o Eyal Berger                                        c/o Jordan L. Rappaport                              c/o Jordan L Rappaport
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Fort Lauderdale, FL 33301-4442                         1300 North Federal Highway                           Boca Raton, FL 33432-2848
                                                       Boca Raton, FL 33432-2801

Scott Zankl                                            Stefano Riga                                         Steven Graves
16937 Pierre Circle                                    c/o Jordan L Rappaport, Esq                          c/o Kelley, Fulton, Kaplan & Eller PL
Delray Beach, FL 33446-3693                            1300 N Federal Hwy, Ste 203                          1665 Palm Beach Lakes Blvd., Ste. 1000
                                                       Boca Raton, FL 33432-2848                            West Palm Beach, FL 33401-2109


Svetlana Petrovna Gorodova                             Tarek Aboualazzm                                     Tim Olesijuk
1100 S Miami Avenue                                    c/o Jordan L. Rappaport, Esq                         c/o John D. Segaul
Apt 1210                                               1300 N Federal Hwy, Ste 203                          300 S. Pine Island Road, Suite 304
Miami, FL 33130-4164                                   Boca Raton, FL 33432-2848                            Plantation, FL 33324-2621




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Nicole Testa Mehdipour
United States Bankruptcy Trustee
6278 North Federal Highway Suite 408
Ft Lauderdale, FL 33308




                                       Addresses marked (c) above for the following entity/entities were corrected
                                            as required by the USPS Locatable Address Conversion System (LACS).
                                  Case 22-12790-EPK            Doc 380        Filed 04/19/23        Page 8 of 15
EAG Wholesale, LLC/OLP EAG, LLC                      OLP EAG, LLC                                         Peak Finance, LLC
c/o Simon & Sigalos, LLC                             c/o Simon & Sigalos, LLP                             c/o Simon & Sigalos, LLP
3839 NW Boca Raton Blvd. #100                        3839 NW Boca Raton Blvd. #100                        3839 NW Boca Raton Blvd #100
Boca Raton, FL 33431                                 Boca Raton, FL 33431                                 Boca Raton FL 33431




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)West Palm Beach                                   (d)Graves Directional Drilling, Inc.                 (d)Moshe Farache and MMS Ultimate Services, I
                                                     c/o Kelley, Fulton, Kaplan & Eller, PL               c/o James B. Miller, P.A.
                                                     1665 Palm Beach Lakes Blvd., Ste 1000                19 West Flagler Street, Suite 416
                                                     West Palm Beach, FL 33401-2109                       Miami, FL 33130-4419


(u)Parkinson Holdings LTD                            (u)Parkinson Super Pty LTD                           (d)Savannah Row Development Company, LLC
c/o Aaron Parkinson                                  c/o Aaron Parkinson                                  c/o M.A. Dinkin Law Firm, P.L.L.C.
19 Oatland Esp, Unit 26                              19 Oatland Esp, Unit 26                              3319 SR 7, Suite 303
Runaway Bay QLD 4216                                 Runaway Bay QLD 4216                                 Wellington FL 33449-8147


(d)Shrayber Land, Inc.                               (d)Woodside Credit, LLC                              (u)Johnie Floyd Weems, III
c/o Joaquin J. Alemany, Esq.                         c/o Zach B. Shelomith, Esq.
Holland & Knight LLP                                 2699 Stirling Rd # C401
701 Brickell Ave., Suite 3300                        Fort Lauderdale, FL 33312-6598
Miami, FL 33131-2898

End of Label Matrix
Mailable recipients   140
Bypassed recipients     9
Total                 149
                                 Case 22-12790-EPK     Doc 380        Filed 04/19/23        Page 9 of 15
Label Matrix for local noticing              ACE Insurance Company of the Midwest a/s/o R      Arby Lipman, LLC
113C-9                                       Kramer, Green, Zuckerman, Greene & Buchs          c/o C. Cory Mauro
Case 22-15627-EPK                            4000 Hollywood Boulevard                          1001 Yamato Road, Suite 401
Southern District of Florida                 Suite 485-S                                       Boca Raton, FL 33431-4445
West Palm Beach                              Hollywood, FL 33021-6786
Fri Apr 14 09:24:03 EDT 2023
Auto Wholesale of Boca, LLC                  BAL INVESTMENTS, LLC                              BENIDT INVESTMENTS/SLINGER, LLC
6560 West Rogers Circle, Suite B-27          c/o Travis Harvey, Esq.                           c/o Eric J. Silver, Esq.
Boca Raton, FL 33487-2746                    Baker Donelson, et al.                            150 West Flagler Street
                                             100 S.E> Third Ave., Ste 1620                     Suite 2200
                                             Fort Lauderdale, FL 33394                         Miami, FL 33130-1545

Chapford Credit Opportunities Fund LP        Chapford Specialty Finance LLC                    Express Emergency Services, Inc.
c/o Scott Rose                               c/o Scott Rose                                    Scott C Gherman P.A.
200 South Biscayne Blvd., Ste 3200           200 South Biscayne Blvd., Ste 3200                c/o Scott C Gherman P.A.
Miami, FL 33131-5323                         Miami, FL 33131-5323                              902 Clint Moore Rd. Ste 120
                                                                                               Boca Raton, FL 33487-2846

FVP Investments, LLC                         FVP Opportunity Fund III, LP                      FVP Servicing, LLC
c/o David R. Softness, Esq.                  c/o David R. Softness, Esq.                       c/o David R. Softness, Esq.
201 South Biscayne Boulevard #2740           201 South Biscayne Boulevard #2740                201 South Biscayne Boulevard #2740
Miami, FL 33131-4332                         Miami, FL 33131-4332                              Miami, FL 33131-4332


Farache Enterprises, Inc.                    Franklin Capital Funding, LLC                     Graves Directional Drilling Inc. a/k/a Grave
c/o Scott C Gherman P.A.                     c/o Shraiberg Page, PA                            c/o Kelley, Fulton, Kaplan & Eller PL
902 Clint Moore Rd., Ste 120                 2385 NW Executive Center Dr., #300                1665 Palm Beach Lakes Blvd.,Ste. 1000
Boca Raton, FL 33487-2846                    Boca Raton, FL 33431-8530                         West Palm Beach, FL 33401-2109


Hi Bar Capital, LLC                          KARMA OF PALM BEACH, INC.                         Karma of Broward, Inc.
c/o Ezequiel J. Romero                       c/o Weiss, Handler & Cornwell, PA                 c/o Weiss Handler & Cornwell, PA
200 South Biscayne Boulevard, Suite 400      2255 Glades Road, Suite 205E                      2255 Glades Road
Miami, FL 33131-5354                         Boca Raton, FL 33431-7391                         Suite 205-E
                                                                                               Boca Raton, FL 33431-7391

M & M Development Consultants LLC.           Mazel Tov, Inc.                                   Quad Funding Partners, LLC
c/o Scott C Gherman P.A.                     c/o Scott C Gherman P.A.                          c/o Eric Nicholsberg
902 Clint Moore Road                         902 Clint Moore Rd., Ste 120                      3303 W. Commercial Blvd.
Suite 120                                    Boca Raton, FL 33487-2846                         Suite 190
Boca Raton, FL 33487-2846                                                                      Fort Lauderdale, FL 33309-3412

Road Rich, LLC d/b/a Road Rich Motors        Shaneandninamt, LLC                               Wing Lake Capital Partners f/k/a Franklin Ca
c/o Kelley, Fulton, Kaplan & Eller PL        c/o Weiss, Handler & Cornwell, PA                 c/o Shraiberg Page, PA
1665 Palm Beach Lakes Blvd., Ste. 1000       2255 Glades Road, Suite 205E                      2385 NW Executive Center Dr., #300
West Palm Beach, FL 33401-2109               Boca Raton, FL 33431-7391                         Boca Raton, FL 33431-8530


Woodside Credit, LLC                         40 Financial Services                             5471, LLC
c/o Zach B. Shelomith, Esq.                  1000 Vereda Del Ciervo Goleta                     5471 North Dixie Highway
2699 Stirling Rd # C401                      Goleta, CA 93117-5304                             Boca Raton, FL 33487-4905
Fort Lauderdale, FL 33312-6598


A Car Leasing LTD Inc.                       Allie Bank                                        Ally Financial
PO Box 9000                                  4515 N. Santa Fe Ave. Dept APS                    PO Box 8110
Lutherville Timonium, MD 21094-9000          Oklahoma City, OK 73118-7901                      Cockeysville, MD 21030-8110
                               Case 22-12790-EPK     Doc 380        Filed 04/19/23    Page 10 of 15
Amir Robert Wasiullah                       Anthony Linden Burnham                        Antonio Batista
5662 NW. 30th Ave.,                         24204 Calvert Street                          1961 Brandywine Road
Boca Raton, FL 33496                        Woodland Hills, CA 91367-1111                 West Palm Beach, FL 33409-8001



Apple 3 Investments, Inc.                   Arby Lipman, LLC and Arby Lipman              Augusta Audatte
1001 Clint Moore Road, Suite 101            c/o C. Cory Mauro, Esq.                       1254 NW. 102nd Way
Boca Raton, FL 33487-2830                   Mauro Law, P.A.                               Coral Springs, FL 33071-3908
                                            1001 Yamato Road, Suite 401
                                            Boca Raton, FL 33431-4445

Auto Sport Group                            Automotive Service Systems, Inc.              Bal Investments
141 NW 20th St., H-13                       6023 Town Colony Dr, Suite 223                1114 Ashton Trace
Boca Raton, FL 33431-7965                   Boca Raton, FL 33433-1957                     Atlanta, GA 30319-2681



Bassem Boutris Maximos                      Benidt Investments/Slinger, LLC               C & K Auto Import South
2909 N Island Dr.,                          c/o Michael J. Harwin, Esq.,                  1210 S. Andrews Ave.,
Seabrook, TX 77586-1637                     Stearns Miller Weissler Alhadeff              Pompano Beach, FL 33069-4617
                                            200 East Las Olas Boulevard, Suite 2100
                                            Fort Lauderdale, FL 33301-2238

Calvin Erbstein                             Carrio Motorcars                              Chad Scott Zankin
4318 El Mar Drive                           2300 North State Rd. 7                        9098 Pintura Way
Lauderdale By The Lakes, FL 33308-5143      Fort Lauderdale, FL 33313-3722                Boca Raton, FL 33496-1059



Chapford Credit Opportunities Fund LP       Chapford Specialty Finance LLC                Chase Farache
c/o Scott Rose, Esq.                        c/o Scott Rose, Esq.                          270 S Silver Palm Road
201 Broad Street, Suite 500                 201 Broad Street, Suite 500                   Boca Raton, FL 33432-7936
Stamford, CT 06901-2004                     Stamford, CT 06901-2004


Daimler Trust LSR Rico Brothers Inc.        David Amsel                                   Dealer Souq USA LLC
4911 Mason St.,                             9712 Palma Vista Way                          1001 Clint Moore RD, Suite 101
South Gate, CA 90280-3518                   Boca Raton, FL 33428-3500                     Boca Raton, FL 33487-2830



Derek Clayton Stevens                       Derek Stephens                                Derek Stephens
1221 Hillsboro Mile 17 C                    c/o Allison B. Duffie, Esq.                   c/o C. Cory Mauro, Esq.
Hillsboro, FL 33062                         Darin Wade Mellinger, Esq.,                   1001 Yamato Road, Suite 401
                                            12020 N. Federal Hwy, Suite 200               Boca Raton, FL 33431-4445
                                            Boca Raton, FL 33432-2000

Driv Inc                                    EAG Wholesale, LLC                            EEP Investments LLC
1617 W. McNab Rd.,                          1001 Clint Moore Rd, Suite 101                c/o David R Softness, Esq.
Pompano Beach, FL 33069-4705                Boca Raton, FL 33487-2830                     20 one S. Biscayne Blvd., Suite 2740
                                                                                          Miami, FL 33131


Ed Brown                                    Edward Brown                                  Elite Motorcars of Miami LLC
152 Bears Club Dr.,                         c/o Eyal Berger, Esq.                         5700 NW. 27th Ave.,
Jupiter, FL 33477-4203                      Akerman LLP                                   Miami, FL 33142-2202
                                            201 E Las Olas Blvd Ste 1800
                                            Fort Lauderdale, FL 33301-4442
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Elite Motors                                   Eric Dore                                       Excell Auto Finance, LLC
1887 Whitney Mesa Dr., #4095                   c/o Jack Brennan, Esq.                          N/K/A Columbus Day Finance, LLC
Henderson, NV 89014-2069                       Gray Robinson, P.A.                             1699 S Federal Highway, Suite 300
                                               301 East Pine Street, Suite 1400                Boca Raton, FL 33432-7410
                                               Orlando, FL 32801-2798

Excell Auto Group, Inc.                        Excell Auto Sport and Service, Inc.             Express Emergency Services Inc
c/o Nicole Testa Mehdipour, Trustee            5471 N. Dixie Hwy, Suite 5                      5050 W Rogers Circle, Suite B27
Law Office of Nicole Testa Mehdipour, PA       Boca Raton, FL 33487-4905                       Boca Raton, FL 33487
6278 North Federal Highway, Suite 408
Fort Lauderdale, FL 33308-1916

Express Emergency Services, Inc                FVP Investments, LLC                            FVP Opportunity Fund III, LP
c/o Scott C Gherman P.A.                       1201 Broadway, FL 7                             325 Hudson Street, 4th Floor
902 Clint Moore Rd.,                           New York, NY 10001-5656                         New York, NY 10013-1045
Ste 120
Boca Raton, FL 33487-2846

FVP Servicing, LLC                             Farache Enterprises Inc                         Farache Enterprises, Inc.
777 Third Avenue, 17th Floor                   6560 W Rogers Circle, Suite B27                 902 CLINT MOOR RD, STE 120
New York, NY 10017-1304                        Boca Raton, FL 33487-2746                       Boca Raton, FL 33487-2846



Farache Enterprises, Inc.                      Florida Department of Revenue                   Frank Arthur Evans III
902 CLINT MOORE RD, STE 120                    5050 W Tennessee Street                         1800 Northwest Corporate Blvd., #31
Boca Raton, FL 33487-2846                      Tallahassee, FL 32399-0100                      Boca Raton, FL 33431-7336



Frank Arthur Evans III                         Frank Arthur Evans III                          Franklin Capital
4501 N Ocean Blvd, TH #3                       c/o Howard Poznanski, Esq.                      c/o Schraiberg Page, PA
Boca Raton, FL 33431-5310                      PO Box 970094                                   Schraiberg Page, Suite 300
                                               Coconut, FL 33097-0094                          Boca Raton, FL 33431


Franklin Capital Funding, LLC                  Franklin Capital Group, LLC                     Franklin Capital Management, LLC
c/o Bradley S. Shraiberg, Esq.                 One Market Square Center                        P.O. Box 7642
Shraiberg Page, P.A.                           151 N. Delaware Street, Suite 1510              Jupiter, FL 33468-7642
2385 NW Executive Center Dr., #300             Indianapolis, IN 46204-2522
Boca Raton, FL 33431-8530

Frederick Hall                                 Genco Auto Sales                                Graves Directional Drilling Inc.
c/o Richard Corey, Esq.                        7436 NW. 55th St.,                              7670 Circle Dr.,
The Law Offices of Richard Corey, PLLC         Miami, FL 33166-4218                            Young Harris, GA 30582-1531
915 Middle Rover Drive, Suite 414
Fort Lauderdale, FL 33304-3561

Gustavo Henrique Sampson Couto                 Hi Bar Capital, LLC                             Hitfigure, LLC dba iLusso (Hitfigure)
22312 Whistling Pines Ln.,                     c/o Mark J. Wolfson, Esq.                       2115 Harbor Blvd.,
Boca Raton, FL 33428-3842                      Foley & Larder, LLP                             Costa Mesa, CA 92627-2528
                                               100 North Tampa Street, Suite 2700
                                               Tampa, FL 33602-5810

Internal Revenue Service                       Internal Revenue Service                        Internal Revenue Service
51 S.W. First Ave.                             P.O. Box 1302                                   POB 7346
Miami, FL 33130-1699                           Charlotte, NC 28201-1302                        Philadelphia, PA 19101-7346
                                 Case 22-12790-EPK     Doc 380           Filed 04/19/23   Page 12 of 15
Israel Hechter                                Jay L Farrow, Esq.                              KURKIN FOREHAND BRANDES LLP
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Sunny Isles, FL 33160-5418                    4801 S University Dr Ste 260                    Aventura, Florida 33180
                                              Davie, FL 33328-3836                            E-mail: mbrandes@kfb-law.com 33180-2813


KZ Consultants, Inc.                          Karma of Broward, Inc.                          Karma of Broward, Inc.
16937 Pierre Cir                              1717 SE 17th St                                 c/o Weiss, Handler & Cornwell, PA
Delray Beach, FL 33446-3693                   Fort Lauderdale, FL 33316-3013                  2255 Glades Road, Suite 205E
                                                                                              Boca Raton, FL 33431-7391


Karma of Palm Beach, Inc.                     Kimberly Siobhan Edwards and                    Kristen Zankl
1001 Clint Moore Rd, Suite 101                Gregory di Maria                                16937 Pierre Circle
Boca Raton, FL 33487-2830                     9938 Equys Circle                               Delray Beach, FL 33446-3693
                                              Boynton Beach, FL 33472-4320


Kukin Forehand Brandes LLP                    Lavish Hero Fund, Inc.                          Leslie Ramsammy Jr
18851 NE 29th Ave Suite 303                   1001 Clint Moore Road                           8 Jareds Path
Aventura, FL 33180-2813                       Boca Raton, FL 33487-2830                       Brookhaven, NY 11719-9437



Lisa Farache                                  Luxury Lease Company                            Luxury Lease Partners LLC
270 S Silver Palm Road                        c/o Mark Brandes, Esq.                          c/o Chris Moscatello
Boca Raton, FL 33432-7936                     Kukin Forehand Brandes LLP                      210 Summit Ave, Suite C4
                                              18851 NE 29th Avenue, Suite 303                 Montvale, NJ 07645-1500
                                              Aventura, FL 33180-2813

M & M Development Consultants LLC             Mazel Tov Inc                                   Michael Halperin
6560 W Rogers Circle, Suite B27               6560 W Rogers Circle, Suite B27                 c/o Phillip Landau, Esq.
Boca Raton, FL 33487-2746                     Boca Raton, FL 33487-2746                       3010
                                                                                              N Military Trail, Suite 318
                                                                                              Boca Raton, FL 33432

Milko Atwater                                 Miss Kriss, LLC                                 Moshe Farache
c/o D Brett Marks, Esq.                       7349 Serrano Terrance                           270 S Silver Palm Road
201 E. Las Olas Blvd., Suite 1800             Delray Beach, FL 33446-2215                     Boca Raton, FL 33432-7936
Fort Lauderdale, FL 33301-4442


NY Restoration & Remodeling                   Office of the US Trustee                        Omar Peru
1501 NW 22nd Ct #21-22                        51 S.W. 1st Ave.                                6178 NW. 31st Ave.,
Pompano Beach, FL 33069-1301                  Suite 1204                                      Boca Raton, FL 33496-3374
                                              Miami, FL 33130-1614


Osvaldo Marin Delgado & Nicole Ramir          Phil Gorey                                      Porsche Financial Services, Inc.
220 Cypress Bayou Lane                        195 W. Alexander Palm Rd.,                      One Porsche Drive
Kenner, LA 70065-6600                         Boca Raton, FL 33432-8602                       Atlanta, GA 30354-1654



Premier Financial Services LLC                Presidential Leasing Inc.                       Prestige Luxury Cars LLC
47 Sherman Hill Rd.,                          3201 S. Federal Highway                         70 SE. 4th Ave.,
Woodbury, CT 06798-3649                       Delray Beach, FL 33483-3223                     Delray Beach, FL 33483-4514
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Prestige Luxury Cars LLC                       Richard Applegate                              Richard Scott Greenberg
c/o Thomas Zeichmann, Esq.                     c/o Jordan L Rappaport, Esq.                   7120 Lionshead Ln.,
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Boca Raton, FL 33431-8579                      1300 N. Federal Highway, Suite 203
                                               Boca Raton, FL 33432-2848

Road Rich LLC d/b/a Road Rich Motors           Road Rich Motors                               Robert O’Connell, Jr.
c/o Kelley, Fulton & Kaplan, PL                770 W 17th St, Unit 3                          1160 SW. 20th Ave
1665 Palm Beach Lakes Blvd., Ste 1000          Costa Mesa, CA 92627-4374                      Boca Raton, FL 33486-8509
West Palm Beach, FL 33401-2109


Roman Temkin & Natalia Vlasova                 Royal Premium Budget Inc                       SC&J II, LLC
16901 Collins Ave., Apt. 4601                  8501 Wade Blvd, Suite 620                      6560 West Rogers Circle, Suite 27
Sunny Isles Beach, FL 33160-5356               Frisco, TX 75034-6268                          Boca Raton, FL 33487-2746



SC&J II, LLC                                   Samuel Stephen Pany                            Santander Bank
6560 West Rogers Circle, Suite B27             1251 SW. 17th St.,                             101N Melville
Boca Raton, FL 33487-2746                      Boca Raton, FL 33486-6628                      Melville, NY 11747



Savannah Row A.k.a. Steven Gelb                Scott Zankl                                    Shrayber Land
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Stratford Specialty Finance LLC                Tavere St Michael Johnson                      (p)US BANK
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Miami, FL 33131-5323


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                                                                                              Fort Lauderdale, FL 33301-2218


Woodside Credit, LLC                           Woodside Credit, LLC                           Woodside Credit, LLC
895 Dove St, Suite 100                         c/o Christian Somodevilla                      c/o Zach B. Shelomith, Esq.
Newport Beach, CA 92660-2944                   2 South Biscayne Boulevard,                    2699 Stirling Rd #C401
                                               Suite 2200                                     Ft. Lauderdale, FL 33312-6598
                                               Miami, FL 33131-1804

World Imports USA Inc.                         Zachary Scott Nelson                           Zhao Min Duan
11650 Beach Blvd.,                             19542 Estuary Dr.,                             18558 Gale Ave., #338
Jacksonville, FL 32246-6605                    Boca Raton, FL 33498-6201                      Rowland Heights, CA 91748-1394
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Calvin Erbstein                                      Chase Farache                                        Derek Stephens
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Suite 120                                            Boca Raton, FL 33487-2846                            Boca Raton, FL 33431-4445
Boca Raton, FL 33487-2846

Edvard Dessalines                                    Edward Brown                                         Eric Dore
c/o John E. Page                                     c/o D. Brett Marks                                   GrayRobinson
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Boca Raton, FL 33431-8530                            Fort Lauderdale, FL 33301-4442                       Suite 1400
                                                                                                          Orlando, FL 32801-2798

Frank A. Evans, III                                  James B Miller                                       Jarret Hitchings
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4301 W. Boy Scout Blvd., Suite 300                   Miami, FL 33130-4419                                 Charlotte, NC 28202-6000
Tampa, FL 33607-5716


Jason J. DeJonker                                    Joel D. Glick                                        Jonathan S. Feldman
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                                                     Boca Raton, FL 33487-2846                            Suite303
                                                                                                          Suite303
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Michael Halperin                                     Moshe Farache                                        Moshe Farache
c/o Philip Landau                                    c/o Scott C Gherman P.A.                             Scott C Gherman P.A.
Landau Law, PLLC                                     902 Clint Moore Road                                 c/o Scott C Gherman P.A.
3010 N. Military Trail                               Suite 120                                            90
Suite 318                                            Boca Raton, FL 33487-2846                            Boca Raton, FL 33487 United States
Boca Raton, FL 33431-6300
Nicole Mehdipour                                     Omar Periu                                           SCOTT C. GHERMAN
6278 N Federal Hwy                                   c/o Carlos E. Sardi                                  Scott C Gherman P.A.
1110                                                 225 Alcazar Avenue                                   902 CLINT MOOR RD, STE 120
Fort Lauderdale, FL 33308-1916                       Coral Gables, FL 33134-4401                          Boca Raton, FL 33487-2846


Steven William Wells
229 Warner Road
Lancaster, NY 14086-1040




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


U.S. Bank National Association
425 Walnut Street
Cincinnati, OH 45202
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)West Palm Beach                                   (d)Express Emergency Services, Inc.                  (d)FVP Investments, LLC
                                                     c/o Scott C Gherman P.A.                             c/o David R. Softness, Esq.
                                                     902 Clint Moore Rd., Ste 120                         201 South Biscayne Boulevard, #2740
                                                     Boca Raton, FL 33487-2846                            Miami, FL 33131-4332


(d)FVP Opportunity Fund III, LP                      (d)FVP Servicing, LLC                                (d)Mazel Tov Inc.
c/o David R. Softness, Esq.                          c/o David R. Softness, Esq.                          c/o Scott C Gherman P.A.
201 South Biscayne Boulevard, #2740                  201 South Biscayne Boulevard, #2740                  902 Clint Moore Rd.
Miami, FL 33131-4332                                 Miami, FL 33131-4332                                 Ste 120
                                                                                                          Boca Raton, FL 33487-2846

(d)Mazel Tov Inc.                                    (d)Quad Funding Partners, LLC                        (d)Woodside Credit, LLC
c/o Scott C Gherman P.A.                             c/o Eric Nicholsberg                                 c/o Zach B. Shelomith, Esq.
902 Clint Moore Rd., Ste 120                         3303 W. Commercial Blvd.                             2699 Stirling Rd # C401
Boca Raton, FL 33487-2846                            Suite 190                                            Fort Lauderdale, FL 33312-6598
                                                     Fort Lauderdale, FL 33309-3412

(d)Arby Lipman                                       (d)Scott Zankl                                       End of Label Matrix
c/o C. Cory Mauro                                    16937 Pierre Circle                                  Mailable recipients   171
1001 Yamato Road, Suite 401                          Delray Beach, FL 33446-3693                          Bypassed recipients    11
Boca Raton, FL 33431-4445                                                                                 Total                 182
